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AO 199A (Rev. 12/11) Order Setting Conditions of Release                                                   Page 1 of      .3     Pages




                                        UNITED STATES DISTRICT COURT
                                                           Western District of Texas
                                                                                                           FILED
                                                                                                              NOV 2 8          201?
                                                                                                           CLERK. (1$
                    United States of America                           )
                                   v.                                  )
                                                                       )       Case No.
                          Eddie Ellis, Jr.                             )
                              Defendant                                )



                                        ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant's release is subject to these conditions:

(1)    The defendant must not violate federal, state, or local law while on release.

(2)    The defendant must cooperate in the collection of a DNA sample if it is authorized by 42 U.S.C.            §    14135a.

(3)    The defendant must advise the court or the pretrial services office or supervising officer in writing before making
       any change of residence or telephone number.

(4)    The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence
       that the court may impose.

       The defendant must appear at:             U.S. District Court, 800 Franklin Avenue in Waco, Texas
                                                                                       Place




       on


       If blank, defendant will be notified of next appearance.

(5)    The defendant must sign an Appearance Bond, if ordered.
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                                                         ADDITIONAL CONDITIONS OF RELEASE
              IT IS FURTHER ORDERED that the defendant's release is subject to the conditions marked below:

      )        The defendant is placed in the custody of:
               (6)
               Person or organization
               Address (only tfabove is an organization)
               Cityand state                                                                                      Tel. No.
who agrees to (a) supervise the defendant, (b) use every effort to assure the defendant's appearance at all court proceedings, and (c) notify the court immediately
if the defendant violates a condition of release or is no longer in the custodian's custody.

                                                                               Signed:
                                                                                                           Custodian                                 Date
   X) (7) The defendant must:
               X )     (a) submit to supervision by and report for supervision to the Pretrial Services Office
                           telephone number         254-750-1 525,       no later than as directed.
                     ) (b) continue or actively  seek employment.
          (          ) (c) continue or start an education program.
                       (d) surrender any passport to:       U.S. Pretrial Services
          (          ) (e) not obtain a passport or other international travel document.
                       (f) abide by the following restrictions on personal association, residence, or travel: No travel outside the State of Texas

          ( X ) (g) avoid all contact, directly or indirectly, with any person who is or may be a victim or witness in the investigation or prosecution,
                            including:    Co-defendant's in this case

                       (h) get medical or psychiatric treatment:                             Services and pay for services as directed.

                        (I) return to custody each                 at           o'clock after being released at                o'clock for employment, schooling,
                            or the following purposes:

                 (j) maintain residence at a halfway house or community corrections center, as the pretrial services office or supervising officer considers
                     necessary.
          ( X ) (k) not possess a firearm, destructive device, or other weapon.
              ) (1) not use alcohol ( X ) at all (         ) excessively.
                (m) not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless prescribed by a licensed
                     medical practitioner.
          (   ) (n) submit to testing for a prohibited substance if required by the pretrial services office or supervising officer. Testing may be used with random
                     frequency and may include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any form of prohibited
                     substance screening or testing. The defendant must not obstruct, attempt to obstruct, or tamper with the efficiency and accuracy of prohibited
                           substance screening or testing.
          (       ) (o) participate in a program of inpatient or outpatient substance abuse therapy and counseling if directed by the pretrial services office or
                        supervising officer and pay as directed.
          (       ) (p) participate in one of the following location restriction programs and comply with its requirements as directed.
                        (    ) (i) Curfew. You are restricted to your residence every day (            ) from                 to               , or (      ) as
                                     directed by the pretrial services office or supervising officer; or
                        (    ) (ii) Home Detention. You are restricted to your residence at all times except for employment; education; religious services; medical,
                                     substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered obligations; or other activities
                                     approved in advance by the pretrial services office or supervising officer; or
                             ) (iii) Home Incarceration. You are restricted to 24-hour-a-day lock-down at your residence except for medical necessities and
                                     court appearances or other activities specifically approved by the court.
                    (q) submit to location monitoring as directed by the pretrial services office or supervising officer and comply with all of the program
                        requirements and instructions provided.
                               You must pay all or part of the cost of the program based on your ability to pay as determined by the pretrial services office or
                               supervising officer.
               X ) (r) report as soon as possible, to the pretrial services office or supervising officer, every contact with law enforcement personnel, including
                       arrests, questioning, or traffic stops.
               X ) (s) Defendant responsible with expenses associated with Pretrial release
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                                             ADVICE OF PENALTIES AND SANCTIONS

 TO THE DEFENDANT:

 YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

       Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
imprisonment, a fine, or both.
       While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
consecutive (i.e., in addition to) to any other sentence you receive.
       It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or attempt
to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are
significantly more serious if they involve a killing or attempted killing.
       If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
       (1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more you will be fined
             not more than $250,000 or imprisoned for not more than 10 years, or both;
                                                                                                                         -
       (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years you will be fmed not
             more than $250,000 or imprisoned for not more than five years, or both;
       (3) any other felony you will be fined not more than $250,000 or imprisoned not more than two years, or both;
       (4) a misdemeanor you will be fmed not more than $100,000 or imprisoned not more than one year, or both.
       A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                                 Acknowledgment of the Defendant
       I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all conditions
of release, to appear as directed, and surrender to serve any sentence imposed. I am aware of the penalties and sanctions set forth above.




                                                                                                      Signature



                                                                                             City and State



                                               Directions to the United States Marshal
        The defendant is ORDERED released after processing.
        The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the defendant
        has posted bond and/or complied with all other condi  s for release. If still in custody, the defendant must be produced before
        the appropriate judge at the time and place specS ed.


Date:     ii
                                                                                      Judicial Officer's Signature

                                                                           U.S. Magjtrate Juçge, Jeffrey C. Manske
                                                                                        Printed name and title




                    DISTRIBUTION:      COURT    DEFENDANT       PRETRIAL SERVICE        U.S. AUORNEY          U.S. MARSHAL
